  Case 3:24-cv-08154-DJH         Document 90-1      Filed 02/28/25     Page 1 of 1




                        UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF ARIZONA

 Hualapai Indian Tribe of the Hualapai Indian         Case No. 3:24-cv-08154-DJH
 Reservation, Arizona,
                                                      [PROPOSED] ORDER
          Plaintiff,                                  GRANTING FEDERAL
                                                      DEFENDANTS’ UNOPPOSED
 vs.                                                  MOTION FOR STAY OF
                                                      DEFENDANTS’ DEADLINES
 Douglas Burgum, in his official capacity as the      TO RESPOND TO THE
 United States Secretary of the Interior, et al.,     AMENDED COMPLAINT

          Federal Defendants

 and

 Arizona Lithium, Ltd.,

          Intervenor Defendant.


       Pending before the Court is Federal Defendants’ Motion for Stay of Federal
Defendants’ Deadlines to Respond to the Amended Complaint. ECF No. 87. Good cause
appearing,
       IT IS ORDERED that Federal Defendants’ motion is granted.
       1) Federal Defendants’ deadline to respond to the Amended Complaint is stayed.
       2) The Parties shall file a status report regarding appropriate next steps in this
          case by no later than May 9, 2025.
       Dated this ___ day of February, 2025.
                                                  _________________________
                                                  Honorable Diane J. Humetewa
                                                  United States District Judge
